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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:05-cr-00163
                                    )
v.                                  )                  Honorable Robert Holmes Bell
                                    )
ROBERT PORTER,                      )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 27, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Robert Porter entered a plea of guilty to the Superseding Felony Information in

exchange for the undertakings made by the government in the written plea agreement. The

Superseding Felony Information charges defendant with conspiracy to distribute and possess with

intent to distribute marijuana, after having been preciously convicted of at least one felony drug

trafficking offense, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(D). On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to the Superseding Felony

Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. The clerk is directed to procure a transcript of the plea hearing for

review by the District Judge.



Date: November 27, 2006                                 /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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